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     9                         UNITED STATES DISTRICT COURT

    10                        SOUTHERN DISTRICT OF CALIFORNIA

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    12   KATHRYN KAILIKOLE, an                      Case No: 3:18-cv-02877-AJB-MSB
         individual,
    13                                              [Previously San Diego Superior Court
                               Plaintiff,           Case No. 37-2018-00058754-CU-WT-NC
    14
                                                    before the Honorable Ronald F. Frazier]
    15          v.
                                                    JOINT STIPULATION FOR
    16   PALOMAR COMMUNITY                          PROTECTIVE ORDER
         COLLEGE DISTRICT, a
    17   governmental entity; and DOES 1            State Complaint: November 20, 2018
    18   through 25, inclusive,

    19                         Defendants.
    20

    21          1.      PURPOSES AND LIMITATIONS
    22          Disclosure and discovery activity in this action are likely to involve
    23   production of confidential, proprietary, or private information for which special
    24   protection from public disclosure and from use for any purpose other than
    25   prosecuting this litigation may be warranted. Accordingly, Plaintiff Kathryn
    26   Kailikole and Defendant Palomar Community College District (collectively, the
    27   “Parties”) hereby stipulate to and petition the court to enter the following Stipulated
    28   Protective Order. The Parties acknowledge that this Order does not confer blanket
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         Exhibit 1 - page 4                   JOINT STIPULATION FOR PROTECTIVE ORDER
                                                         CASE NO. 3:18-CV-02877-AJB-MSB
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     1   protections on all disclosures or responses to discovery and that the protection it
     2   affords from public disclosure and use extends only to the limited information or
     3   items that are entitled to confidential treatment under the applicable legal principles.
     4   The Parties further acknowledge, as set forth in Section 12.3, below, that this
     5   Stipulated Protective Order does not entitle them to file confidential information
     6   under seal and that proper procedures that must be followed and the appropriate
     7   legal standards that will be applied when a party seeks permission from the court to
     8   file material under seal.
     9          2.      DEFINITIONS
    10          2.1     Challenging Party:     a Party or Non-Party that challenges the
    11   designation of information or items under this Order.
    12          2.2     “CONFIDENTIAL” Information or Items: information (regardless of
    13   how it is generated, stored or maintained) or tangible things that qualify for
    14   protection under Federal Rule of Civil Procedure 26(c).
    15          2.3     Counsel (without qualifier): Outside Counsel of Record and House
    16   Counsel (as well as their support staff).
    17          2.4     Designating Party: a Party or Non-Party that designates information
    18   or items that it produces in disclosures or in responses to discovery as
    19   “CONFIDENTIAL.”
    20          2.5     Disclosure or Discovery Material: all items or information, regardless
    21   of the medium or manner in which it is generated, stored, or maintained (including,
    22   among other things, testimony, transcripts, and tangible things), that are produced
    23   or generated in disclosures or responses to discovery in this matter.
    24          2.6     Expert: a person with specialized knowledge or experience in a matter
    25   pertinent to the litigation who has been retained by a Party or its counsel to serve as
    26   an expert witness or as a consultant in this action.
    27          2.7     House Counsel: attorneys who are employees of a party to this action.
    28   House Counsel does not include Outside Counsel of Record or any other outside
                                                     2
         Exhibit 1 - page 5                   JOINT STIPULATION FOR PROTECTIVE ORDER
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     1   counsel.
     2          2.8     Non-Party: any natural person, partnership, corporation, association,
     3   or other legal entity not named as a Party to this action.
     4          2.9     Outside Counsel of Record: attorneys who are not employees of a
     5   party to this action but are retained to represent or advise a party to this action and
     6   have appeared in this action on behalf of that party or are affiliated with a law firm
     7   which has appeared on behalf of that party.
     8          2.10 Party: any party to this action, including all of its officers, directors,
     9   employees, consultants, retained experts, and Outside Counsel of Record (and their
    10   support staffs).
    11          2.11 Producing Party: a Party or Non-Party that produces Disclosure or
    12   Discovery Material in this action.
    13          2.12 Professional Vendors:       persons or entities that provide litigation
    14   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
    15   demonstrations, and organizing, storing, or retrieving data in any form or medium)
    16   and their employees and subcontractors.
    17          2.13 Protected Material: any Disclosure or Discovery Material that is
    18   designated as “CONFIDENTIAL.”
    19          2.14 Receiving Party:      a Party that receives Disclosure or Discovery
    20   Material from a Producing Party.
    21          3.      SCOPE
    22          The protections conferred by this Stipulation and Order cover not only
    23   Protected Material (as defined above), but also (1) any information copied or
    24   extracted from Protected Material; (2) all copies, excerpts, summaries, or
    25   compilations of Protected Material; and (3) any testimony, conversations, or
    26   presentations by Parties or their Counsel that might reveal Protected Material.
    27   However, the protections conferred by this Stipulation and Order do not cover the
    28   following information: (a) any information that is in the public domain at the time
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         Exhibit 1 - page 6                   JOINT STIPULATION FOR PROTECTIVE ORDER
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     1   of disclosure to a Receiving Party or becomes part of the public domain after its
     2   disclosure to a Receiving Party as a result of publication not involving a violation
     3   of this Order, including becoming part of the public record through trial or
     4   otherwise; and (b) any information known to the Receiving Party prior to the
     5   disclosure or obtained by the Receiving Party after the disclosure from a source who
     6   obtained the information lawfully and under no obligation of confidentiality to the
     7   Designating Party. Any use of Protected Material at trial shall be governed by a
     8   separate agreement or order.
     9          4.      DURATION
    10          Even after final disposition of this litigation, the confidentiality obligations
    11   imposed by this Order shall remain in effect until a Designating Party agrees
    12   otherwise in writing or a court order otherwise directs. Final disposition shall be
    13   deemed to be the later of (1) dismissal of all claims and defenses in this action, with
    14   or without prejudice; and (2) final judgment herein after the completion and
    15   exhaustion of all appeals, rehearings, remands, trials, or reviews of this action,
    16   including the time limits for filing any motions or applications for extension of time
    17   pursuant to applicable law.
    18          5.      DESIGNATING PROTECTED MATERIAL
    19          5.1     Exercise of Restraint and Care in Designating Material for Protection.
    20   Each Party or Non-Party that designates information or items for protection under
    21   this Order must take care to limit any such designation to specific material that
    22   qualifies under the appropriate standards. The Designating Party must designate for
    23   protection only those parts of material, documents, items, or oral or written
    24   communications that qualify – so that other portions of the material, documents,
    25   items, or communications for which protection is not warranted are not swept
    26   unjustifiably within the ambit of this Order.
    27          Mass, indiscriminate, or routinized designations are prohibited. Designations
    28   that are shown to be clearly unjustified or that have been made for an improper
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         Exhibit 1 - page 7                   JOINT STIPULATION FOR PROTECTIVE ORDER
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     1   purpose (e.g., to unnecessarily encumber or retard the case development process or
     2   to impose unnecessary expenses and burdens on other Parties) expose the
     3   Designating Party to sanctions. If it comes to a Designating Party’s attention that
     4   information or items that it designated for protection do not qualify for protection,
     5   that Designating Party must promptly notify all other Parties that it is withdrawing
     6   the mistaken designation.
     7          5.2     Manner and Timing of Designations. Except as otherwise provided in
     8   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
     9   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
    10   under this Order must be clearly so designated before the material is disclosed or
    11   produced.
    12          Designation in conformity with this Order requires:
    13          (a)     for information in documentary form (e.g., paper or electronic
    14   documents, but excluding transcripts of depositions or other pretrial or trial
    15   proceedings), that the Producing Party affix the legend “CONFIDENTIAL” to each
    16   page that contains protected material. If only a portion or portions of the material
    17   on a page qualifies for protection, the Producing Party also must clearly identify the
    18   protected portion(s) (e.g., by making appropriate markings in the margins).
    19          A Party or Non-Party that makes original documents or materials available
    20   for inspection need not designate them for protection until after the inspecting Party
    21   has indicated which material it would like copied and produced. During the
    22   inspection and before the designation, all of the material made available for
    23   inspection shall be deemed “CONFIDENTIAL.” After the inspecting Party has
    24   identified the documents it wants copied and produced, the Producing Party must
    25   determine which documents, or portions thereof, qualify for protection under this
    26   Order. Then, before producing the specified documents, the Producing Party must
    27   affix the “CONFIDENTIAL” legend to each page that contains Protected Material.
    28   If only a portion or portions of the material on a page qualifies for protection, the
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         Exhibit 1 - page 8                  JOINT STIPULATION FOR PROTECTIVE ORDER
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     1   Producing Party also must clearly identify the protected portion(s) (e.g., by making
     2   appropriate markings in the margins).
     3          (b) for testimony given in deposition or in other pretrial or trial proceedings,
     4   that the Designating Party identify on the record, before the close of the deposition,
     5   hearing, or other proceeding, all protected testimony.
     6          (c) for information produced in some form other than documentary and for
     7   any other tangible items, that the Producing Party affix in a prominent place on the
     8   exterior of the container or containers in which the information or item is stored the
     9   legend “CONFIDENTIAL.” If only a portion or portions of the information or item
    10   warrant protection, the Producing Party, to the extent practicable, shall identify the
    11   protected portion(s).
    12          5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent
    13   failure to designate qualified information or items does not, standing alone, waive
    14   the Designating Party’s right to secure protection under this Order for such material.
    15   Upon timely correction of a designation, the Receiving Party must make reasonable
    16   efforts to assure that the material is treated in accordance with the provisions of this
    17   Order.
    18          6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS
    19          6.1     Timing of Challenges. Any Party or Non-Party may challenge a
    20   designation of confidentiality at any time. Unless a prompt challenge to a
    21   Designating Party’s confidentiality designation is necessary to avoid foreseeable,
    22   substantial unfairness, unnecessary economic burdens, or a significant disruption or
    23   delay of the litigation, a Party does not waive its right to challenge a confidentiality
    24   designation by electing not to mount a challenge promptly after the original
    25   designation is disclosed.
    26          6.2     Meet and Confer. The Challenging Party shall initiate the dispute
    27   resolution process by providing written notice of each designation it is challenging
    28   and describing the basis for each challenge. To avoid ambiguity as to whether a
                                                   6
         Exhibit 1 - page 9                   JOINT STIPULATION FOR PROTECTIVE ORDER
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     1   challenge has been made, the written notice must recite that the challenge to
     2   confidentiality is being made in accordance with this specific paragraph of the
     3   Protective Order. The Parties shall attempt to resolve each challenge in good faith
     4   and must begin the process by conferring directly (in voice to voice dialogue; other
     5   forms of communication are not sufficient) within 14 days of the date of service of
     6   notice. In conferring, the Challenging Party must explain the basis for its belief that
     7   the confidentiality designation was not proper and must give the Designating Party
     8   an opportunity to review the designated material, to reconsider the circumstances,
     9   and, if no change in designation is offered, to explain the basis for the chosen
    10   designation. A Challenging Party may proceed to the next stage of the challenge
    11   process only if it has engaged in this meet and confer process first or establishes
    12   that the Designating Party is unwilling to participate in the meet and confer process
    13   in a timely manner.
    14          6.3     Judicial Intervention. If the Parties cannot resolve a challenge without
    15   court intervention, the Designating Party shall file and serve a motion to retain
    16   confidentiality within 21 days of the initial notice of challenge or within 14 days of
    17   the Parties agreeing that the meet and confer process will not resolve their dispute,
    18   whichever is earlier. Each such motion must be accompanied by a competent
    19   declaration affirming that the movant has complied with the meet and confer
    20   requirements imposed in the preceding paragraph. Failure by the Designating Party
    21   to make such a motion including the required declaration within 21 days (or 14
    22   days, if applicable) shall automatically waive the confidentiality designation for
    23   each challenged designation. In addition, the Challenging Party may file a motion
    24   challenging a confidentiality designation at any time if there is good cause for doing
    25   so, including a challenge to the designation of a deposition transcript or any portions
    26   thereof. Any motion brought pursuant to this provision must be accompanied by a
    27   competent declaration affirming that the movant has complied with the meet and
    28   confer requirements imposed by the preceding paragraph.
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         Exhibit 1 - page 10                   JOINT STIPULATION FOR PROTECTIVE ORDER
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     1          The burden of persuasion in any such challenge proceeding shall be on the
     2   Designating Party. Frivolous challenges, and those made for an improper purpose
     3   (e.g., to harass or impose unnecessary expenses and burdens on other Parties) may
     4   expose the Challenging Party to sanctions. Unless the Designating Party has waived
     5   the confidentiality designation by failing to file a motion to retain confidentiality as
     6   described above, all Parties shall continue to afford the material in question the level
     7   of protection to which it is entitled under the Producing Party’s designation until
     8   the court rules on the challenge.
     9          7.      ACCESS TO AND USE OF PROTECTED MATERIAL
    10          7.1     Basic Principles. A Receiving Party may use Protected Material that is
    11   disclosed or produced by another Party or by a Non-Party in connection with this
    12   case only for prosecuting, defending, or attempting to settle this litigation. Such
    13   Protected Material may be disclosed only to the categories of persons and under the
    14   conditions described in this Order. When the litigation has been terminated, a
    15   Receiving Party must comply with the provisions of section 13 below (FINAL
    16   DISPOSITION).
    17          Protected Material must be stored and maintained by a Receiving Party at a
    18   location and in a secure manner that ensures that access is limited to the persons
    19   authorized under this Order.
    20          7.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless
    21   otherwise ordered by the court or permitted in writing by the Designating Party, a
    22   Receiving      Party   may    disclose   any    information    or   item    designated
    23   “CONFIDENTIAL” only to:
    24          (a) the Receiving Party’s Outside Counsel of Record in this action, as well
    25   as employees of said Outside Counsel of Record to whom it is reasonably necessary
    26   to disclose the information for this litigation and who have signed the
    27   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit
    28   A;
                                                   8
         Exhibit 1 - page 11                  JOINT STIPULATION FOR PROTECTIVE ORDER
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     1          (b) the officers, directors, and employees (including House Counsel) of the
     2   Receiving Party to whom disclosure is reasonably necessary for this litigation and
     3   who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
     4          (c) Experts (as defined in this Order) of the Receiving Party to whom
     5   disclosure is reasonably necessary for this litigation and who have signed the
     6   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
     7          (d) the court and its personnel;
     8          (e) court reporters and their staff, professional jury or trial consultants, mock
     9   jurors, and Professional Vendors to whom disclosure is reasonably necessary for
    10   this litigation and who have signed the “Acknowledgment and Agreement to Be
    11   Bound” (Exhibit A);
    12          (f) during their depositions, witnesses in the action to whom disclosure is
    13   reasonably necessary and who have signed the “Acknowledgment and Agreement
    14   to Be Bound” (Exhibit A), unless otherwise agreed by the Designating Party or
    15   ordered by the court. Pages of transcribed deposition testimony or exhibits to
    16   depositions that reveal Protected Material must be separately bound by the court
    17   reporter and may not be disclosed to anyone except as permitted under this
    18   Stipulated Protective Order.
    19          (g) the author or recipient of a document containing the information or a
    20   custodian or other person who otherwise possessed or knew the information.
    21          8.      PROTECTED MATERIAL SUBPOENAED OR ORDERED
    22                  PRODUCED IN OTHER LITIGATION
    23          If a Party is served with a subpoena or a court order issued in other litigation
    24   that compels disclosure of any information or items designated in this action as
    25   “CONFIDENTIAL,” that Party must:
    26          (a) promptly notify in writing the Designating Party. Such notification shall
    27   include a copy of the subpoena or court order;
    28          (b) promptly notify in writing the party who caused the subpoena or order to
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         Exhibit 1 - page 12                  JOINT STIPULATION FOR PROTECTIVE ORDER
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     1   issue in the other litigation that some or all of the material covered by the subpoena
     2   or order is subject to this Protective Order. Such notification shall include a copy of
     3   this Stipulated Protective Order; and
     4          (c) cooperate with respect to all reasonable procedures sought to be pursued
     5   by the Designating Party whose Protected Material may be affected.
     6          If the Designating Party timely seeks a protective order, the Party served with
     7   the subpoena or court order shall not produce any information designated in this
     8   action as “CONFIDENTIAL” before a determination by the court from which the
     9   subpoena or order issued, unless the Party has obtained the Designating Party’s
    10   permission. The Designating Party shall bear the burden and expense of seeking
    11   protection in that court of its confidential material – and nothing in these provisions
    12   should be construed as authorizing or encouraging a Receiving Party in this action
    13   to disobey a lawful directive from another court.
    14          9.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
    15                  PRODUCED IN THIS LITIGATION
    16          (a) The terms of this Order are applicable to information produced by a Non-
    17   Party in this action and designated as “CONFIDENTIAL.” Such information
    18   produced by Non-Parties in connection with this litigation is protected by the
    19   remedies and relief provided by this Order. Nothing in these provisions should be
    20   construed as prohibiting a Non-Party from seeking additional protections.
    21          (b) In the event that a Party is required, by a valid discovery request, to
    22   produce a Non-Party’s confidential information in its possession, and the Party is
    23   subject to an agreement with the Non-Party not to produce the Non-Party’s
    24   confidential information, then the Party shall:
    25                  (1) promptly notify in writing the Requesting Party and the Non-Party
    26          that some or all of the information requested is subject to a confidentiality
    27          agreement with a Non-Party;
    28                  (2) promptly provide the Non-Party with a copy of the Stipulated
                                                  10
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     1          Protective Order in this litigation, the relevant discovery request(s), and a
     2          reasonably specific description of the information requested; and
     3                  (3) make the information requested available for inspection by the
     4          Non-Party.
     5          (c) If the Non-Party fails to object or seek a protective order from this court
     6   within 14 days of receiving the notice and accompanying information, the
     7   Receiving Party may produce the Non-Party’s confidential information responsive
     8   to the discovery request. If the Non-Party timely seeks a protective order, the
     9   Receiving Party shall not produce any information in its possession or control that
    10   is subject to the confidentiality agreement with the Non-Party before a
    11   determination by the court. Absent a court order to the contrary, the Non-Party
    12   shall bear the burden and expense of seeking protection in this court of its Protected
    13   Material.
    14          10.     UNAUTHORIZED             DISCLOSURE            OF      PROTECTED
    15                  MATERIAL
    16          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
    17   Protected Material to any person or in any circumstance not authorized under this
    18   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
    19   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
    20   to retrieve all unauthorized copies of the Protected Material, (c) inform the person
    21   or persons to whom unauthorized disclosures were made of all the terms of this
    22   Order, and (d) request such person or persons to execute the “Acknowledgment and
    23   Agreement to Be Bound” that is attached hereto as Exhibit A.
    24          11.     INADVERTENT          PRODUCTION          OF     PRIVILEGED          OR
    25                  OTHERWISE PROTECTED                MATERIAL
    26          When a Producing Party gives notice to Receiving Parties that certain
    27   inadvertently produced material is subject to a claim of privilege or other protection,
    28   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
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         Exhibit 1 - page 14                  JOINT STIPULATION FOR PROTECTIVE ORDER
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     1   Procedure 26(b)(5)(B). This provision is not intended to modify whatever
     2   procedure may be established in an e-discovery order that provides for production
     3   without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and
     4   (e), insofar as the Parties reach an agreement on the effect of disclosure of a
     5   communication or information covered by the attorney-client privilege or work
     6   product protection, the Parties may incorporate their agreement in the stipulated
     7   protective order submitted to the court.
     8          12.     MISCELLANEOUS
     9          12.1 Right to Further Relief. Nothing in this Order abridges the right of any
    10   person to seek its modification by the court in the future.
    11          12.2 Right to Assert Other Objections. By stipulating to the entry of this
    12   Protective Order no Party waives any right it otherwise would have to object to
    13   disclosing or producing any information or item on any ground not addressed in
    14   this Stipulated Protective Order. Similarly, no Party waives any right to object on
    15   any ground to use in evidence of any of the material covered by this Protective
    16   Order.
    17          12.3 Filing Protected Material. Where any Protected Materials, or
    18   Information derived from Protected Materials, is included in any motion or other
    19   proceeding, such papers shall be accompanied by an application to file the papers,
    20   or confidential portion thereof, under seal. No document may be filed under seal,
    21   except pursuant to a court order that authorizes the sealing of the particular
    22   document, or portion of the document. A sealing order may issue only upon a
    23   showing that the information is privileged or protectable under the law. The request
    24   must be narrowly tailored to seek sealing only of the confidential or privileged
    25   material. To file a document under seal, the parties must comply with the procedures
    26   explained in Section 2.j of the Electronic Case Filing Administrative Policies and
    27   Procedures Manual for the United States District Court for the Southern District of
    28   California and Civil Local Rule 79.2. In addition, a party must file a redacted
                                                    12
         Exhibit 1 - page 15                 JOINT STIPULATION FOR PROTECTIVE ORDER
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     1   version of any document that it seeks to file under seal. The document must be titled
     2   to show that it corresponds to an item filed under seal, e.g., ‘Redacted Copy of
     3   Sealed Declaration of John Smith in Support of Motion for Summary Judgment.’
     4   The party should file the redacted document(s) simultaneously with a joint motion
     5   or ex parte application requesting that the confidential portions of the document(s)
     6   be filed under seal and setting forth good cause for the request. If the filing party
     7   is the Designating Party, the motion to file documents under seal must set forth
     8   good cause for the request. If a Receiving Party is filing the motion, within 4 days
     9   of the Receiving Party requesting that it be sealed, the Designating Party shall file
    10   a declaration setting forth good cause to seal the designated material. If the
    11   Designating Party fails to file a declaration, the motion to seal will be denied. If a
    12   Receiving Party’s request to file Protected Materials under seal is denied by the
    13   court, then the Protected Materials will be filed in the public record.
    14          13.     FINAL DISPOSITION
    15          Within 60 days after the final disposition of this action, as defined in
    16   paragraph 4, each Receiving Party must return all Protected Material to the
    17   Producing Party or destroy such material. As used in this subdivision, “all Protected
    18   Material” includes all copies, abstracts, compilations, summaries, and any other
    19   format reproducing or capturing any of the Protected Material. Whether the
    20   Protected Material is returned or destroyed, the Receiving Party must submit a
    21   written certification to the Producing Party (and, if not the same person or entity, to
    22   the Designating Party) by the 60 day deadline that (1) identifies (by category, where
    23   appropriate) all the Protected Material that was returned or destroyed and (2)
    24   affirms that the Receiving Party has not retained any copies, abstracts, compilations,
    25   summaries or any other format reproducing or capturing any of the Protected
    26   Material. Notwithstanding this provision, Counsel are entitled to retain an archival
    27   copy of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal
    28   memoranda, correspondence, deposition and trial exhibits, expert reports, attorney
                                                  13
         Exhibit 1 - page 16                  JOINT STIPULATION FOR PROTECTIVE ORDER
                                                         CASE NO. 3:18-CV-02877-AJB-MSB
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     1   work product, and consultant and expert work product, even if such materials
     2   contain Protected Material.
     3          Any such archival copies that contain or constitute Protected Material remain
     4   subject to this Protective Order as set forth in Section 4 (DURATION).
     5          IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
     6    Dated: July 31, 2019                       Respectfully submitted,
     7
                                                     FISHER & PHILLIPS LLP
     8
                                              By: /s/ Kevonna J. Ahmad
     9                                            Regina A. Petty
    10
                                                  Adam F. Sloustcher
                                                  Kevonna J. Ahmad
    11                                            Attorneys for Defendant
                                                  Palomar Community College District
    12

    13    Dated: July 31, 2019                        DWIN LEGAL, APC
    14

    15                                         By:      /s/ Evan Dwin
                                                      Evan Dwin
    16                                                Attorneys for Plaintiff
                                                      Kathryn Kailikole
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         Exhibit 1 - page 17                 JOINT STIPULATION FOR PROTECTIVE ORDER
                                                        CASE NO. 3:18-CV-02877-AJB-MSB
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     1                                        EXHIBIT A
     2                 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
     3          I, _____________________________ [print or type full name], of
     4   _________________ [print or type full address], declare under penalty of perjury
     5   that I have read in its entirety and understand the Stipulated Protective Order that
     6   was issued by the United States District Court for the Southern District of
     7   California on _________________ in the case of Kailikole v. Palomar Community
     8   College District, Case No: 3:18-cv-02877-AJB-MSB.
     9          I agree to comply with and to be bound by all the terms of this Stipulated
    10   Protective Order and I understand and acknowledge that failure to so comply could
    11   expose me to sanctions and punishment in the nature of contempt. I solemnly
    12   promise that I will not disclose in any manner any information or item that is
    13   subject to this Stipulated Protective Order to any person or entity except in strict
    14   compliance with the provisions of this Order.
    15          I further agree to submit to the jurisdiction of the United States District Court
    16   for the Northern District of California for the purpose of enforcing the terms of this
    17   Stipulated Protective Order, even if such enforcement proceedings occur after
    18   termination of this action.
    19   I hereby appoint __________________________ [print or type full name] of
    20   _______________________________________ [print or type full address and
    21   telephone number] as my California agent for service of process in connection with
    22   this action or any proceedings related to enforcement of this Stipulated Protective
    23   Order.
    24   Date: ______________________________________
    25   City and State where sworn and signed: _________________________________
    26   Printed name: _______________________________
    27   Signature: __________________________________
    28

                                                   15
         Exhibit 1 - page 18                   EXHIBIT A
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     1                                         ORDER
     2          Pursuant to the above stipulation of the parties, and good cause appearing
     3   for the requested protective order,
     4          IT IS ORDERED that the above Joint Stipulation and Protective Order is
     5   entered as an Order of this Court, and shall be binding upon the parties, as well as
     6   the signatories to Exhibit A.
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     8   DATED:                                       By:
                                                            Michael S. Berg
     9                                                      United States Magistrate Judge
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         Exhibit 1 - page 19                   ORDER
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